Case 14-10979-CSS   Doc 1593-1   Filed 07/16/14   Page 1 of 8




               EXHIBIT A
            Case 14-10979-CSS           Doc 1593-1     Filed 07/16/14    Page 2 of 8




                                                         July 16, 2014


VIA E-MAIL

Board of Directors of Energy Future Intermediate Holding Company LLC
c/o Paul Keglevic
Chief Financial Officer
1601 Bryan Street
Dallas, Texas 75201

                  Re: In re Energy Future Holdings Corp., et al., No. 14-10979 (CSS)

Dear Paul:

       On June 18, 2014, NextEra Energy, Inc. (“NextEra”), together with the ad hoc group
of EFIH Second Lien Noteholders (the “Second Lien Group”), submitted a letter of intent
describing the terms toward which NextEra and the Second Lien Group wished to work with
the Debtors to document a comprehensive restructuring of the Debtors, including a proposed
second lien debtor-in-possession financing facility. NextEra and the Second Lien Group
submitted revised proposals, each with significantly improved economic terms over the
previous proposals, on June 20th, 22nd, and 27th.

        On July 8, 2014, the Debtors announced that they remain committed to the goal of
maximizing estate value and that they intend to engage in discussions with third parties. To
this end, NextEra and the Second Lien Group wish to work side-by-side with the Debtors to
consummate a transaction that we believe will deliver the best value for reorganized EFH
common stock and maximize value for all of the Debtors’ creditors.

      NextEra and the Second Lien Group are pleased to present to you the annexed
summary of terms, and we are ready to work collaboratively with the Debtors to document a
comprehensive restructuring embodying those terms (the “Strategic Proposal”), including:

          (1) funding of the Debtors’ plan of reorganization (the “Strategic Investment”) or, to
              the extent the Debtors wish to maintain the financing structure contemplated by
              the RSA, funding of a second lien debtor-in-possession financing facility with a
              mandatory equity conversion (the “Strategic DIP”); and

          (2) a tax-free merger of reorganized EFH and a subsidiary of NextEra in an all-stock
              merger in which NextEra would acquire 100% of reorganized EFH common stock
              in exchange for NextEra common stock (the “Merger”).




CPAM: 6688461.5
            Case 14-10979-CSS            Doc 1593-1         Filed 07/16/14       Page 3 of 8



c/o Paul Keglevic                                    -2-                                      July 16, 2014


      The terms of the Strategic Proposal are set forth in more detail below and on the
annexed term sheet. The Strategic Proposal is superior to the RSA transactions because it:

           implies a significantly higher enterprise valuation for Oncor than the implied
            enterprise valuation under the RSA, with an approximate $500 million increase
            over our prior proposal;

           provides the Debtors with flexibility to allocate value throughout the capital
            structure and implement the proposed transaction via either the Strategic
            Investment or the Strategic DIP;

           provides for a Strategic DIP at the option of the Debtors, which, if consummated,
            would have no cash fees, no prepayment premium, and significantly lower interest
            rates than any other financing proposal made public to date;

           contemplates the Merger, which would provide certainty of value to the Debtors’
            estates and liquidity upon plan effectiveness to EFH and EFIH creditors;

           preserves the Debtors’ tax strategy, including the tax-free spin of TCEH;

           results in NextEra, an entity that owns significant operations regulated by the
            PUC, holding a substantial majority ownership stake in Oncor, reducing the
            regulatory risk embedded in the RSA;1

           provides for approximately $180 million of additional value available for
            consensual settlements throughout the Debtors’ capital structure; and

           provides for higher recoveries for creditors of both EFH and EFIH than is provided
            for under the RSA, including:

                  o payment in full to the EFIH PIK Notes and EFH LBO Notes equal to the
                    aggregate amount of the principal and, at the Debtors’ discretion and/or if
                    required by the Bankruptcy Court, accrued contract interest and
                    makewhole;

                  o payment to the EFIH Second Lien Notes equal to the aggregate amount of
                    principal, accrued contract interest, and makewhole, less $25 million; and

                  o an increase of $20 million in the cash distribution to the EFH Legacy Notes
                    over the recovery provided for under the RSA.
1
     NextEra will coordinate with Oncor to obtain any necessary regulatory approvals from the PUC relating to
     changes in ownership of EFH contemplated by the Strategic Proposal.




CPAM: 6688461.5
Case 14-10979-CSS   Doc 1593-1   Filed 07/16/14   Page 4 of 8
                  Case 14-10979-CSS     Doc 1593-1      Filed 07/16/14        Page 5 of 8




                             ENERGY FUTURE HOLDINGS CORP.

                   TERM SHEET FOR ACQUISITION OF ENERGY FUTURE HOLDINGS CORP.

        This Term Sheet summarizes the principal indicative terms with respect to a potential
acquisition by a subsidiary of NextEra Energy, Inc. of Energy Future Holdings Corp. This Term
Sheet is intended solely as a basis for further discussion and is not intended to be and does not
constitute a commitment, offer to purchase or any legally binding obligation. No other legally
binding obligations will be created, implied or inferred until definitive legal documentation is
executed and delivered by both parties.

Company                       Reorganized Energy Future Holdings Corp. (“Reorganized EFH”).

Purchaser                     A newly formed Delaware limited liability company (“Purchaser”)
                              wholly owned, directly or indirectly, by NextEra Energy, Inc.
                              (“NEE”).

Structure                     The acquisition will take place in two steps.

                              Step 1: Purchaser will acquire approximately 41% of the equity of
                              Reorganized EFH from Reorganized EFH for a cash payment equal
                              to $1.625 billion paid pursuant to a confirmed and effective Chapter
                              11 plan of reorganization (the “Plan of Reorganization”). (See
                              Alternative Step 1 below.)

                              Alternative Step 1: As an alternative to Step 1 above, NEE would
                              invest $1.625 billion in the form of a mandatorily convertible second
                              lien debtor in possession facility (“NEE DIP”), which facility,
                              including the 2% PIK interest and the PIK funding fee described
                              below, would convert into approximately 42% of the equity of
                              Reorganized EFH upon effectiveness of the Plan of Reorganization.
                              The NEE DIP would be part of a larger mandatorily convertible
                              second lien debtor in possession facility that would involve a rollover
                              of a portion of the Second Lien Notes into notes under such facility
                              which will be non-amortizing and bear interest at a fixed rate of 6%
                              per annum payable in cash.

                              The notes issued to NEE under the NEE DIP facility will be non-
                              amortizing and bear interest at a fixed rate of 6% per annum, of
                              which 4% will be payable in cash and 2% will be payable in the form
                              of additional notes. Such additional notes will also be non-
                              amortizing.

                              Interest will be payable on all of the notes on the final business day
                              of each quarter, beginning on the first such day after the issue date.




CPAM: 6699421.2
                  Case 14-10979-CSS    Doc 1593-1     Filed 07/16/14     Page 6 of 8




                             There would be no cash fees payable in respect of the facility and no
                             pre-payment penalty.

                             There would be a PIK funding fee of $75 million, payable to NEE in
                             equity at confirmation of the Plan of Reorganization only upon the
                             equity conversion of the NEE DIP facility.

                             Step 2: NEE would acquire the balance of the equity of Reorganized
                             EFH pursuant to a tax-free merger of Reorganized EFH with and into
                             Purchaser pursuant to the Plan of Reorganization. Prior to approval
                             and execution of a merger agreement among EFH, NEE and the
                             Purchaser (the “Merger Agreement”), EFH will reincorporate as a
                             Delaware corporation. The merger consideration shall consist of a
                             number of shares of NEE common stock to be issued to the holders
                             of Reorganized EFH Common Stock (other than NEE or Purchaser)
                             with an aggregate value equal to the Net Plan Funding Requirement.

                             For these purposes—

                                    “Net Plan Funding Requirement” means the sum of the
                                    Second Lien Net Funding Requirement, the PIK Net Funding
                                    Requirement, the EFH Unsecured LBO Notes Net Funding
                                    Requirement, the EFH Unsecured Legacy Notes Net Funding
                                    Requirement, and the EFH Equity Funding Requirement.
                                    Notwithstanding the calculation of the Net Plan Funding
                                    Requirement (which shall be based on a calculation equal to
                                    the full amount of the principal, accrued interest at the
                                    contract rate, and makewhole with respect to claims against
                                    EFIH), all amounts that constitute the components of the Net
                                    Plan Funding Requirement other than the Second Lien Net
                                    Funding Requirement are fungible and can be reallocated
                                    pursuant to the Plan of Reorganization.

                                    “Second Lien Net Funding Requirement” means the
                                    aggregate amount of the principal, accrued interest at the
                                    contract rate and makewhole payable with respect to the
                                    Second Lien Notes, less the sum of (x) all amounts paid in
                                    cash in respect thereof and (y) $25 million. The Second Lien
                                    Net Funding Requirement shall be payable such that the
                                    amounts received pursuant to the Plan of Reorganization and
                                    the Merger Agreement result in 50% paid in cash and 50%
                                    paid in NEE common stock.

                                    “PIK Net Funding Requirement” means the aggregate amount
                                    of the principal and, at the Debtors’ discretion and/or if
                                    required by the Bankruptcy Court, accrued interest at the
                                    contract rate and makewhole payable with respect to the PIK


                                                 2
CPAM: 6699421.2
                  Case 14-10979-CSS   Doc 1593-1      Filed 07/16/14     Page 7 of 8




                                    Notes, less all amounts paid in cash in respect thereof. The
                                    PIK Net Funding Requirement shall be payable such that the
                                    amounts received pursuant to the Plan of Reorganization and
                                    the Merger Agreement result in 50% paid in cash and 50%
                                    paid in NEE common stock.

                                    “EFH Unsecured LBO Notes Net Funding Requirement”
                                    means the aggregate amount of the principal and, at the
                                    Debtors’ discretion and/or if required by the Bankruptcy
                                    Court, accrued interest at the contract rate and makewhole
                                    payable with respect to the LBO Notes, less the sum of (x) all
                                    amounts paid in cash in respect thereof and (y) any other
                                    recovery that the holders are entitled to under the Plan of
                                    Reorganization. The EFH Unsecured LBO Notes Net
                                    Funding Requirement shall be payable such that the amounts
                                    received pursuant to the Plan of Reorganization and the
                                    Merger Agreement result in 50% paid in cash and 50% paid
                                    in NEE common stock.

                                    “EFH Unsecured Legacy Notes Net Funding Requirement”
                                    means an aggregate amount equal to 0.4% of the Reorganized
                                    EFH equity paid in NEE common stock. The holders of EFH
                                    Unsecured Legacy Notes will also receive all residual cash at
                                    EFH.

                                    “EFH Equity Funding Requirement” means an amount equal
                                    to 0.4% of the Reorganized EFH equity paid in NEE common
                                    stock.

Transfer Restrictions        NEE common stock to be issued in the Merger shall be freely
                             tradeable, subject to tax and market related limitations.

Governance                   As of the closing, the Board and management of the reorganized
                             EFH shall be the Board and management of Purchaser.

Representations and          The Merger Agreement shall contain customary representations and
Warranties                   warranties of EFH and NEE and Purchaser for transactions of this
                             type.

Covenants                    The Merger Agreement shall contain covenants and agreements of
                             EFH and EFIH, customary for a transaction of this type.

Conditions Precedent to      The Merger will be conditioned upon satisfaction of customary terms
Merger                       and conditions, including, without limitation, the following:

                                The Bankruptcy Court shall have entered the Confirmation
                                 Order, and such order shall be final and in full force and effect


                                                3
CPAM: 6699421.2
                  Case 14-10979-CSS   Doc 1593-1       Filed 07/16/14    Page 8 of 8




                                  and not subject to a stay;

                                Any and all governmental and third party consents and
                                 approvals necessary in connection with the Merger and the
                                 Plan of Reorganization shall have been obtained and shall
                                 remain in effect;

                                The Private Letter Ruling related to the tax-free spin-off shall
                                 have been obtained from the IRS; and

                                The Plan of Reorganization shall have become, or
                                 simultaneously with the issuance of the Reorganized EFH
                                 Common Stock will become, effective.

Approval                     NEE has approval from its Board of Directors for Step 1 and
                             Alternative Step 1 and will seek Board approval for Step 2 (the
                             Merger) at a Board meeting scheduled for July 24-25, 2014.




                                                 4
CPAM: 6699421.2
